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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America, et al.,
Plaintiff,
- against - : Case No. 1:20-cv-03010-APM
Google LLC, :
Defendant.

DECLARATION OF JULIA K. YORK IN SUPPORT OF
MOTION FOR ADMISSION PRO HAC VICE

I, Julia K. York, hereby declare:

Ie I am counsel for Non-Party Petitioner Apple Inc. in the above-captioned action. I
have personal knowledge of the facts set forth in this Declaration, and if called as a witness, I
could and would testify competently to these facts under oath.

2 My full name is Julia Kupfer York.

3. Tam an attorney with the law firm of Skadden, Arps, Slate, Meagher & Flom
LLP. My office address is 1440 New York Avenue, N.W., Washington, D.C. 20005. My
telephone number is (202) 371-7146. My email address is julia.york@skadden.com.

4, Iam admitted and a member in good standing of the D.C. Bar.

a I have never been disciplined by any bar.

6. Within the last two years, I have not been admitted pro hac vice in this Court.

7. I do engage in the practice of law from an office located in the District of

Columbia.
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I declare under penalty of perjury that the foregoing is true and correct. Executed on this

DHS

Julia K. York

27th day of September, 2023 in Washington, D.C.

